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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MISSOURI
                                EASTERN DIVISION

MALEEHA AHMAD, et al.,                       )
                                             )
            Plaintiffs,                      )
                                             )
      vs.                                    )         Case No. 4:17 CV 2455 CDP
                                             )
CITY OF ST. LOUIS, MISSOURI,                 )
                                             )
            Defendant.                       )

                           MEMORANDUM AND ORDER

      Michael Faulk moves to consolidate his individual § 1983 claim for damages

(Case No. 4:18CV308 JCH) with the instant potential class action case seeking

solely injunctive relief. Faulk is not a plaintiff in this case, and there is no

indication that the parties to the instant case seek consolidation with Faulk’s case.

Given the age and advanced procedural posture of the instant case, as well as the

differing types of relief sought in each case, the motion to consolidate will be

denied. See R. Civ. P. 42(a).

      Accordingly,

        IT IS HEREBY ORDERED that the motion to consolidate the instant

case with Case Number 4: 18 CV 308 JCH [83] is denied.



                                         CATHERINE D. PERRY
                                         UNITED STATES DISTRICT JUDGE
Dated this 14th day of June, 2018.
